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       In the United States Court of Federal Claims
                                           No. 00-512L

                                      (Filed: August 9, 2013)
                                             _________

 PETRO-HUNT, L.L.C.,

                         Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                            _________

                                            ORDER
                                           __________

       On July 19, 2013, defendant filed a statement of expenses incurred in opposing plaintiff’s
renewed motion for a protective order. RCFC 37(a)(5)(B) requires plaintiff be given an
opportunity to be heard. Accordingly, on or before September 9, 2013, plaintiff may file a brief
regarding:

       1.     The reasonableness defendant’s statement of expenses incurred; and

       2.     Whether its renewed motion for a protective order was substantially
              justified or other circumstances make an award of expenses unjust.

       IT IS SO ORDERED.



                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
